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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )      CR. NO. 2:21-CR-49-MHT-JTA-3
                                             )
WILLIAM RICHARD CARTER, JR.                  )

      MOTION FOR ENLARGEMENT OF TIME FOR OPENING STATEMENTS

       Comes now the United States of America, by and through Alice S. LaCour, Attorney for

the United States Acting Under Authority Conferred by 28 U.S.C. § 515, and files this motion

for an enlargement of time for opening statements. Presently, the Court has allowed each side 40

minutes for opening statements. Due to the complexity of the case, the government asks that

each side be permitted 60 minutes for opening statements. The government has consulted with

the attorneys representing the defendant and they do not oppose the granting of this motion.

       Respectfully submitted, this 18th day of February, 2022.

                                                    ALICE S. LACOUR
                                                    ATTORNEY FOR THE UNITED STATES
                                                    ACTING UNDER AUTHORITY
                                                    CONFERRED BY 28 U.S.C. § 515

                                                    /s/ Jonathan S. Ross
                                                    Jonathan S. Ross
                                                    Assistant United States Attorney
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Case 2:21-cr-00049-MHT-JTA Document 270 Filed 02/18/22 Page 2 of 3




                                    /s/ Brett J. Talley
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UNITED STATES OF AMERICA                    )
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               v.                           )       CR. NO. 2:21-CR-49-MHT-JTA-3
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WILLIAM RICHARD CARTER, JR.                 )

                               CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                                    Respectfully submitted,

                                                    /s/ Jonathan S. Ross
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